Case 2:10-md-02179-CJB-DPC Document 7114-14 Filed 08/13/12 Page 1 of 18




                         Exhibit 13
  Case 2:10-md-02179-CJB-DPC Document 7114-14 Filed 08/13/12 Page 2 of 18




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA


In Re: Oil Spill by the Oil Rig “Deepwater        *         MDL NO. 2179
   Horizon” in the Gulf of Mexico, on April       *
   20, 2010                                       *         SECTION J
                                                  *
                                                  *
                                                  *         HONORABLE CARL J.
                                                  *         BARBIER
                                                  *
                                                  *         MAGISTRATE JUDGE
                                                  *         SHUSHAN
                                                  *


                        DECLARATION OF DONALD J. LANDRY

       I, Donald J. Landry, submit this declaration in support of the Motion For Final Approval

Of Deepwater Horizon Economic And Property Damages Settlement Agreement As Amended

On May 2, 2012 filed by BP Exploration & Production Inc. and BP America Production

Company (“BP”) in the above-captioned litigation. I am over the age of 18, and the opinions,

statements, and conclusions expressed in this declaration are my own.

                                      INTRODUCTION

       1.     My name is Donald J. Landry.


       2.     I am currently the owner of Top Ten Hospitality Advisors, an independent

consulting company that provides networking, marketing and development services to hospitality

industry owners, operators, developers and suppliers.


       3.     I also currently serve on the board of directors of Hersha Hospitality Trust, a real

estate investment trust, Supertel Hospitality Inc., a real estate investment trust, and on the

advisory boards of Unifocus, a systems and technology company specializing in hospitality,
  Case 2:10-md-02179-CJB-DPC Document 7114-14 Filed 08/13/12 Page 3 of 18




Campo Architects, a architectural firm specializing in hotels and adaptive reuse, Revenue

Performance Interactive, an e-commerce marketing company specializing in hospitality,

Windsor Capital Group, an owner and operator of hotels, VOILA’ Hospitality Rewards, a

company that markets frequent traveler rewards programs for independent hotels, and Armstrong

Hospitality, a hotel development company.


       4.     I am a 43-year veteran of the lodging industry, and served as president of some of

the largest hotel management, real estate and franchise companies in the world. A copy of my

Curriculum Vitae, which lists my professional experience and areas of expertise, is attached as

Exhibit A.


       5.     I began my career at Sonesta Hotels in New Orleans while studying at the

University of New Orleans. I hold a Bachelor of Science in Business Management from UNO

where I was 1999 Alumnus of the year. I currently serve on the board of the UNO hotel school.


       6.     I was the former vice chairman of the board and CEO of Sunburst Hospitality

Corporation, a hotel real estate and management company which owned and operated 75 hotels

with over 10,000 rooms in 25 states including Florida and Texas.


       7.     I was also president of Choice Hotels International, a company with over 4,000

franchised hotels in 30 countries. During my tenure at Choice, I launched MainStay Suites and

Choice Picks food courts. Prior to Choice, I served as president of Manor Care’s hotel division

and assisted living division. As president I was personally involved in acquiring 36 hotels and

building 37 hotels throughout the USA. This required detailed analysis of markets including

those in Florida, Louisiana, Texas and Alabama.



                                               2
  Case 2:10-md-02179-CJB-DPC Document 7114-14 Filed 08/13/12 Page 4 of 18




       8.     I also served as Executive VP and COO and President of the management

division of Richfield Hotel Management, Inc. where I was responsible for the management of

171 hotels and President of MHM, Inc. a hotel management company acquired by Richfield. I

previously served as SVP of marketing for MHM and VP of operations for the Southeast U.S.

My operations and marketing responsibilities included market studies and operational reviews of

properties in the Gulf Coast states, specifically, New Orleans, Baton Rouge, Lafayette, Houma,

Alexandria, Shreveport, Biloxi, Mobile, Gulf Shores, Pensacola, Tampa, Beaumont, Orange

City, and Panama City Beach.


       9.     I am a former board member of Friendly Hotels in the UK, HotelTools, Revpac,

Arescom and Choice Hotels Canada. I served as the vice chairman of the Educational Institute

of the American Hotel and Lodging Association, the chair of the Johnson and Wales University

advisory council, chair of the International Society of Hotel Management Companies, President

of the Dallas Hotel Association, and on the board of the Texas Hotel Association.


       10.    I am a frequent speaker at hotel industry conferences including The Lodging

Conference, The Midwest Lodging and Investment conference, the Hunter Lodging Investment

conference, The American Lodging Investment Seminar and at hospitality schools including

University of New Orleans, Cornell University, Michigan State University, University of

Houston and all four campuses of Johnson and Wales University.


       11.    As a standard part of my business practice over the last 40 years, and as chairman

of both Hersha’s acquisition committee and Supertel’s investment committee, I have monitored

economic conditions in all major markets including the Gulf Coast on a regular basis. This type

of comparative analysis of the Gulf Coast economy is necessary to support my research and


                                               3
  Case 2:10-md-02179-CJB-DPC Document 7114-14 Filed 08/13/12 Page 5 of 18




business consulting activities. I am therefore knowledgeable about the economic conditions in

this region. Data sources I routinely review include Smith Travel Research (“STR”), Lodging

Econometrics, Pannell Kerr Forster (PKF) and Hotel Valuation Services (HVS) data.


       12.    Through my experience in the hospitality industry, I am personally familiar with

the geography of the Gulf Coast region, particularly Louisiana. I have traveled extensively

throughout the region and am familiar with the major feeder roads and tourism destinations in

Louisiana and the Gulf Coast.


       13.    I also currently reside in Slidell, Louisiana. I understand that I may be eligible to

file a claim as an owner of an eligible parcel of wetlands property. However, I have no opinions

about Wetlands Real Property Compensation or the Wetlands Real Property Claim Framework.


       14.    I am an independent expert retained by counsel for BP for the purpose of

evaluating the proposed Deepwater Horizon Economic and Property Damages Settlement

Agreement (the “Settlement Agreement”) between BP and the Plaintiffs (collectively, the

“Parties”).


       15.    I did not personally participate in: (i) drafting or preparing the Settlement

Agreement or the settlement frameworks or methodologies that are incorporated into the

Settlement Agreement; (ii) the settlement negotiations between BP and Plaintiffs’ counsel, the

Plaintiffs’ Steering Committee (“PSC”); or (iii) advising any of the Parties whether to agree to

the terms of the Settlement Agreement.




                                                4
     Case 2:10-md-02179-CJB-DPC Document 7114-14 Filed 08/13/12 Page 6 of 18




                                       MATERIALS REVIEWED

          16.     In preparation for submitting this declaration, I have reviewed the Settlement

Agreement and all of its appendices that are applicable to Business and Individual Economic

Loss.      This includes the Map of Economic Loss Zones (Exhibit 1A to the Settlement

Agreement); Zone Definitions (Exhibit 1B to the Settlement Agreement); Zone Classifications

and Implementation (Exhibit 1C to the Settlement Agreement); Tourism Definition (Exhibit 2 to

the Settlement Agreement); the documentation, compensation, and causation frameworks for

businesses (Exhibits 4A-E to the Settlement Agreement); the specialized frameworks for multi-

facility (Exhibit 5 to the Settlement Agreement), failed (Exhibit 6 to the Settlement Agreement),

and start-up businesses (Exhibit 7 to the Settlement Agreement); the compensation, causation,

and documentation framework for individuals (Exhibits 8A-E to the Settlement Agreement); and

the economic loss and property class definition exclusions, including the applicable NAICS

codes (Exhibits 16-19 to the Settlement Agreement).


          17.     I also reviewed the Claim Forms and their instructions and Frequently Asked

Questions (“FAQ’s”) and answers available to claimants on the Claims Administrator’s website.1


          18.     I also reviewed the Claims Administrator’s claims statistics, as posted on the

settlement website.2


          19.     I also reviewed objections relevant to tourism-related business and individual

economic loss claims.




1
    Available at www.deepwaterhorizonsettlement.com
2
    Available at www.deepwaterhorizonsettlement.com


                                                      5
  Case 2:10-md-02179-CJB-DPC Document 7114-14 Filed 08/13/12 Page 7 of 18




       20.     In addition, I have reviewed the STR data for periods before and after the start of

the oil spill on April 20, 2010 as well as data from the Alabama Gulf Coast Convention and

Visitor’s Bureau (AGCCVG). STR data is widely relied upon by industry participants and is

recognized as the standard source for evaluating tourism and hotel industry performance. STR

reports from April 2008 to June 2012 were sampled for trends. In general, the Gulf Coast

markets recovered quickly from the spill and exceeded 2009 pre-spill RevPAR ( Revenue Per

Available Room) in the fall of 2010, 2011 and spring of 2012.


                                           OPINIONS

       21.     I have been asked to render an opinion regarding the fairness and reasonableness

of several aspects of the Settlement Agreement, including the Economic Loss Zone designations,

particularly as to those Zones defined in Louisiana, the definition of “Tourism,” and the

Economic Loss frameworks for businesses and individuals in the hospitality industry.


       22.     Based on my experience in the hospitality industry along the Gulf Coast, I believe

the Zones negotiated by the Parties are logical, fair and reasonable and, among other things, take

into account well-established tourism patterns in the Gulf Coast area.


       23.     I also conclude that the definition of “Tourism” businesses used by the

frameworks is fair and reasonable and appropriately and adequately encompasses the businesses

in the tourism industry.


       24.     Finally, I also conclude that the frameworks for business and individual economic

loss are reasonable-to-generous and will provide more than full compensation to businesses and

individuals in the tourism industry (including hospitality, lodging, and related businesses) along

the Gulf Coast.

                                                6
  Case 2:10-md-02179-CJB-DPC Document 7114-14 Filed 08/13/12 Page 8 of 18




       25.     The remainder of this declaration provides the basis for my opinions.


Economic Loss Zones


       26.     The Zones included in the economic loss maps (see Exhibit 1A to the Settlement

Agreement) logically and rationally reflect the likelihood of a potential economic effect of the oil

spill on tourism businesses and risk of potential future harm. In general, the Zones are structured

to reflect the fact that as distance increases from the coast, the likelihood of damage to tourism

businesses is reduced.     The presumption of causation lessens as distance from the coast

increases, but the frameworks permit claimants to establish causation anywhere in the class

geographic boundaries. Further, the use of feeder roads throughout the Zones appropriately

recognizes that the tourism destinations in the Gulf Coast are “drive markets” and businesses

along these feeder roads can be affected by performance of the tourism industry. In addition, as

distance increases from the coast, the likelihood of future damage to tourism is further reduced,

which is consistent with the lower RTPs used in more distant zones.


       27.     More specifically, Zone A consists of areas where the primary economic activity

revolves around Gulf Coast-related tourism. The key determinant of inclusion in Zone A is that

the area relies almost entirely on the Gulf of Mexico as the resource enjoyed by visitors (e.g.,

Grand Isle, LA).


       28.     Moreover, Zone A also includes downtown New Orleans, which is the primary

tourism destination in Louisiana. New Orleans is the only metropolitan area in the Gulf Coast

where the primary focus is on tourism. Within New Orleans, the French Quarter is the core area

of tourism activity.



                                                 7
  Case 2:10-md-02179-CJB-DPC Document 7114-14 Filed 08/13/12 Page 9 of 18




       29.     Zone B consists of supplemental tourism areas which rely heavily on Gulf Coast-

related tourism but whose economic activity also serves permanent residents. For example,

portions of Uptown New Orleans and Southern Louisiana contain businesses that beach tourists

may patronize during their time vacationing, but they also contain tourism-related businesses

which cater to permanent or seasonal residents of cities and surrounding areas.


       30.     Zone C consists of broader areas proximate to the Gulf Coast which include

businesses which rely both on Gulf-related tourism but also permanent residents. These include

major cities (portions of New Orleans, Lafayette, Lake Charles, etc.) where businesses within the

“Tourism” definition in fact generally cater primarily to permanent residents, but also might rely

partially on Gulf-related tourism.


       31.     Zone C also includes feeder roads which tourists use to travel to Zone A tourist

destinations (for example to New Orleans or Grand Isle). Businesses on these feeder roads cater

to both traveling tourists and primary residents year round. The term “feeder road” is utilized in

the hospitality industry to describe a main access road to a tourist destination.


       32.     Zone D consists of the other areas outside of Zone A, B, and C - the remainder of

the Class geographic area.


       33.     Certain industry definitions and the Exclusions in the Settlement Agreement,

including the Tourism definition, rely on the NAICS Codes. The NAICS Codes were developed

by the U.S. Government as the standard classification of business types. Economists, analysts,

and government agencies uniformly rely on NAICS Codes to categorize businesses. Use of the

NAICS Codes will provide claimants and the court-approved Settlement Program with an

objective, transparent standard for determining how a business should be classified.

                                                  8
 Case 2:10-md-02179-CJB-DPC Document 7114-14 Filed 08/13/12 Page 10 of 18




       34.     The Tourism Definition relies on the NAICS Codes associated with the tourism

industry. It accurately and expansively captures the nature and scope of the industry in the Gulf

Coast region. The NAICS Codes do not isolate Travel and Tourism under one general code. The

complete NAICS Codes can be used to identify Travel and Tourism related business

classifications. The codes used under the Tourism definition in the Settlement Agreement appear

to be broad and inclusive of businesses related to tourism. It also is important to recognize that

the nature of tourism can vary from zone to zone. For example, restaurants in all zones are likely

to serve non-local customers, but restaurants in Zone A are more likely to serve more non-local

customers than restaurants in Zone C. The higher causation standards and lower RTPs for

tourism businesses in more distant zones appropriately reflect the lesser importance of non-local

customers for tourism business in these areas. As a result, the possibility that a decline in

revenue is due to the spill is smaller in areas more distant from the coast, and the likelihood of

future spill-related harm is also smaller in these areas.


       35.     The geographic zones used for Louisiana appear different from the states of

Florida, Mississippi and Alabama. Louisiana, unlike FL, MS, and AL, does not have a hard

defined coast with continuous beaches. The coast is primarily marsh and the nature of tourism is

substantially different. Tourism consists of some beach visits but primarily fishing, hunting, and

eco, wildlife, and historic site tours. Zone A extends much further away from the coastline than

in other states, and this is rational based on the nature of tourism in the state. Visitors to the Gulf

Coast beaches also frequently expand travel to include New Orleans and/or south Louisiana

wetlands.


       36.     Overall, the Zones and Tourism Definition are fair and reasonable. They take into

account geographic location, industry type, seasonality, actual pre- and post-spill economic

                                                  9
 Case 2:10-md-02179-CJB-DPC Document 7114-14 Filed 08/13/12 Page 11 of 18




performance, and anticipated growth in 2010. It is appropriate to consider industry type because

certain industries are less likely to have been potentially affected by the Oil Spill.


Individual and Business Economic Loss Frameworks


       37.     The Economic and Property Loss Settlement framework for business economic

loss reasonably, fairly, and adequately compensates businesses in the hospitality and tourism

industry that experienced loss due to the oil spill.


       38.       The framework for business economic loss generally reflects the reality of the

economic recovery by the beginning of 2011. The “V Tests” requiring revenue declines in the

post-spill 2010 time period followed by revenue increases in 2011 are consistent with this

economic reality. The recovery is also demonstrated in RevPAR data as reported by STR for

May to August 2011 was higher than the same months in pre-spill 2009 for Louisiana,

Mississippi, Alabama and Florida.


       39.     Historically, travel trends have been impacted by a multitude of factors including,

weather, economic environment, demand generators, competition and social trends to name a

few, and trends can be quite volatile. Based on the STR data reviewed, it appears any overall loss

of business from reduced tourism that may have resulted from the Spill was replaced and more

than offset by new demand leading to higher RevPAR in 2011 than in pre-spill 2009.


       40.     For example, data from the Alabama Gulf Coast Convention and Visitors Bureau

(AGCCVB) indicate that RevPAR for May through August 2010 for the beach resort areas of

Orange Beach, Gulf Shores, and Fort Morgan was 29% lower than in the comparable months of

2009. However, by May through August 2011, RevPAR for these Alabama resort areas reported


                                                  10
 Case 2:10-md-02179-CJB-DPC Document 7114-14 Filed 08/13/12 Page 12 of 18




by the AGCCVB fully recovered from the 2010 decline and was 9% above 2009 levels.               A

similar pattern is observed in data from the Florida Panhandle. RevPAR based on STR data for

hotels within one mile of the coast in Florida Panhandle counties showed a decline of 10% from

May-August 2009 to the same period in 2010. However, in the same months of 2011, RevPAR

had fully recovered and was 9% above 2009 levels over the same period. The destinations do

not appear tainted and did not suffer long term demand decline.


       41.     The framework for individuals provides a reasonable, adequate, and fair process

for compensating employees in the hotel and hospitality industry. The process requires

documentation of earnings and includes employer’s sworn statements for individuals lacking tax

or employer documentation. Because completing the claim forms can be challenging for some

tourism industry workers, numerous assistance centers have been and will be available at no

charge to assist individuals in preparing a claim. In my opinion, the settlement proposed is fair-

to-generous. Based on my experience in the hospitality industry, I conclude that the documents

required by the framework are the types of documents hospitality industry employees would

typically have, so that those who experienced economic loss would be able to qualify for

compensation without additional burden.


       42.     The framework for individual economic loss accounts for individuals whose work

is seasonal, periodic or festival related, which may include employees in the lodging and tourism

industry. The framework permits seasonal employees in different employment categories to

make a claim and qualify. The framework’s requirements allow for a large variety of both direct

and indirect documentation, even including personal interviews, to establish reasonable loss

compensation claims. I believe the framework is flexible and more than fair. (See Exhibit 8A to

the Settlement Agreement, Definitions E and W.) The causation requirements account for

                                               11
 Case 2:10-md-02179-CJB-DPC Document 7114-14 Filed 08/13/12 Page 13 of 18




seasonal employees in Exhibit 8A to the Settlement Agreement. Seasonal employees are given

the benefit of a general growth factor or industry growth factor. (Exhibit 8A to the Settlement

Agreement at 21-24.)


        43.   The Settlement Program has locations throughout Louisiana to assist claimants

with understanding their rights as Class Members and the claims process.           This makes

compensation accessible to tourism and hospitality industry employees throughout Louisiana in a

way that appears to be proactive in attempting to reach and compensate any and all such

employees who may have been economically harmed by the oil spill.


Recovery of Tourism and Hospitality on Gulf Coast


        44.   Available data demonstrate both that tourism recovered quickly from the spill and

that, even during the summer of 2010, some tourist-related businesses received a positive impact

from the cleanup-related demand.


        45.   As noted above, AGCCVB data indicate that RevPAR was 29% lower in May-

August 2010 compared to the same period in 2009. However, by September-October 2010,

RevPAR for hotels in Alabama resort areas of Orange Beach, Gulf Shores, and Fort Morgan on

the Gulf Coast was 22% higher than in the same period in 2009. A similar pattern is observed

for hotels within one mile of the coast in the Florida Panhandle. As noted above, STR data

indicate that RevPAR was 10% lower in May-August 2010 compared to 2009. However, by

September-October, RevPAR in 2010 was 4% above levels in the comparable period of 2009 for

this area.




                                              12
    Case 2:10-md-02179-CJB-DPC Document 7114-14 Filed 08/13/12 Page 14 of 18




         46.      The positive spill-related impact realized by some tourism businesses is reflected

in the STR RevPAR data for coastal counties in the summer of 2010. These data, which cover

the entire county, not just areas within one mile of the coast, indicate that RevPAR in May-

August 2010 in Mobile and Baldwin counties in Alabama was 37% higher than in the same

period in 2009. Similarly, in May-August 2010 RevPAR in coastal Mississippi was 14% higher

than in the same period in 2009, and RevPAR in south Louisiana was 26% above 2009 levels.3

Even in the Florida Panhandle, where there was less clean-up related demand, RevPAR in May-

August 2010 was still 55% of that from the same period of the prior year.


         47.      As discussed above, available data indicate that tourism in the summer of 2011

more than fully recovered from declines observed in 2010, with the RevPAR measures discussed

above typically exceeding pre-spill data from 2009 by a substantial margin. These data indicate

that there has been no long-lasting negative impact on tourism from the spill. The strong

recovery of tourism in the Gulf Coast area is verified by very consistent comments from many

area tourism officials on record-setting tourism.4 For example, in coastal tourist destinations



3
     Coastal Mississippi counties for which STR data are available include Hancock and Jackson and Louisiana
     parishes for which STR data are available include Iberia, Jefferson, LaFourche, Orleans, St. Mary, St.
     Tammany, and Terrebonne.
4
     “New Orleans’ tourism industry also ended 2010 as the number one destination in the country for year-over-
     year REVPAR growth, according to Smith Travel,” Kelly Schulz, Vice President for Communications and
     Public Relations for the New Orleans Convention and Visitors Bureau, April 15, 2011.

     "We are excited that Alabama's Gulf Coast Beaches were able to re-bound so quickly and to set record numbers
     on top of it," Lee Sentell, director of the Alabama Tourism Department. GlobeNewswire, “Cohesive Marketing
     Efforts Result in $200 Million Rebound for Alabama Beaches Impacted by Gulf Oil Spill”, November 4, 2011.

     “All the reports from everybody I’ve talked to, they said the reservations are great,” said Kate Wilkes, executive
     director of the Santa Rosa County Tourist Development Council. “They’re way ahead of where they usually are.
     All of that advertising (with BP money) wasn’t just for last year,” Wilkes added. “It put us on the map. We also
     went into markets that we never had money to do before — Tennessee, Texas. We did a lot of television, things
     we couldn’t do before and it really helped.” Ricketts, Dusty, “Local tourism industry is red-hot”, Northwest
     Florida Daily News, March 16, 2012.


                                                          13
    Case 2:10-md-02179-CJB-DPC Document 7114-14 Filed 08/13/12 Page 15 of 18


such as Grand Isle, a beach community known for its recreational fishing and beaches, well

known fishing tournameots have returned.


       48.     In my opinion, the increased exposure from the spill of the IUgh quality beaches

of the Gulf Coast may well have a positive impact on overall future demand from tourists to visit

the Gulf Coast. In general the affected area has experienced new record high revenues in 201 I

and the trend appears to continue in 20 I2. The proposed settlement, which compensates for

experienced losses and adds an RTP, payments meant to compensate class members for pre-

judgment interest. the risk of oil returning, consequential damages, inconvenience, aggravation,

the risk of future loss, the lost value of money. compensation for emotional distress, liquidation

of legal disputes about punitive damages, and other factors, should more than fully compensate

businesses and individuals in hospitality and tourism for any economic harm experienced.


       I declare under penalty of perjury that the foregoing is a true and correct statement of my

opinions and analysis.



                                                     Donald .




                                                14
Case 2:10-md-02179-CJB-DPC Document 7114-14 Filed 08/13/12 Page 16 of 18




                 Landry Declaration
                     Exhibit A
 Case 2:10-md-02179-CJB-DPC Document 7114-14 Filed 08/13/12 Page 17 of 18




                                      Donald J. Landry
                                   1492 Lakeshore blvd
                                     Slidell, LA 70461
                             985 643 3877 cell 301 996 2242
                     Dlandry1@aol.com www. DonLandryTopTen.com




        Don Landry CHA, is the owner of Top Ten Hospitality Advisors, an independent
consulting company. He serves on the board of directors of Hersha Hospitality Trust (NYSE:HT),
a real estate investment trust, Supertel Hopsitality Inc. (NASDAQ:SPPR) and on the advisory
boards of Unifocus, Campo Architects, Revenue Performance Interactive, Windsor Capital
Group and VOILA’ Hospitality Rewards.
        A 40+ year veteran of the lodging industry, Landry served as president of some of the
largest hotel management, real estate and franchise companies in the world. He is the former
vice chairman of the board and CEO of Sunburst Hospitality Corporation (NYSE:SNB), a hotel
real estate and management company which owned and operated 75 hotels with over 10,000
rooms in 25 states. He was president of Choice Hotels International (NYSE: CHH), a company
with over 4000 franchised hotels in 30 countries. During his tenure at Choice, he launched
MainStay Suites and Choice Picks food courts. Prior to Choice, Landry served as president of
Manor Care’s hotel division and assisted living division.
        Landry also served as EVP and COO of Richfield Hotel Management, Inc. where he was
responsible for the management of 171 hotels and president of MHM, Inc. a hotel management
company acquired by Richfield.
        Landry began his career at Sonesta Hotels in New Orleans while studying at the
University of New Orleans. He holds a Bachelor of Science from UNO where he was 1999
Alumnus of the year. He currently serves on the board of the UNO hotel school.
        Landry is a former board member of Friendly Hotels in the UK, HotelTools, Revpac,
Arescom and Choice Hotels Canada. He has served as the vice chairman of the Educational
Institute of the American Hotel and Lodging Association, the chair of the Johnson and Wales
University advisory council, chairman of the International Society of Hotel Management
Companies, President of the Dallas Hotel Association, and on the board of the Texas Hotel
Association.
        Landry is a frequent speaker at hotel industry conferences and hospitality schools. His
most requested speech is “F-Words for Success”: Focus, Fast, Fresh, Flexible, Fun, Family,
Friends, Faith, Fitness and Finances.
Case 2:10-md-02179-CJB-DPC Document 7114-14 Filed 08/13/12 Page 18 of 18



                                        Donald J. Landry
                                      1492 Lakeshore Blvd
                                        Slidell, LA 70461
                                 985 643 3877 cell 301 996 2242
                                       Dlandry1@aol.com
                                  www.TopTenDonLandry.com

    Employment history

    Sonesta Corporation 1969 – 1972
          Various food and beverage positions and Breakfast Manager at the Royal Orleans
          hotel while attending college in New Orleans. Assistant Director of Management
          Services at the Royal Sonesta and the Royal Orleans Hotel.
          Assistant Controller of the Plaza Hotel New York City.

    Hotel Circle Inc 1972 -1976
           Resident Manager then General Manager of the 373 room Le Baron Hotel Dallas
           Texas.

    MHM Inc. 1976 – 1989
         Vice President of Operations, Sr. Vice President of Marketing and President of
         the USA’s largest independent hotel management company in Dallas Texas,
         operating 91 hotels.

    Richfield Hospitality 1989 -1992
            EVP and COO of Richfield Hospitality, and President of the management division
            after a merger of MHM, AIRCOA, HMS and Regal Hotels, operating 171 owned
            and managed hotels based in Denver CO.

    Manor Care Inc. 1992 – 1996
          President of Manor Care Hotel Division and Assisted Living Division, developing
          and operating 75 hotels and three assisted living facilities based in Silver Spring
          MD.

    Choice Hotels International 1996 -1998
           President of Choice Hotels Inc. a publicly traded spinoff from Manor Care of
           4000 franchised hotels and the Manor Care Hotel Division real estate.

    Sunburst Hospitality Inc. 1998 – 2001
          Vice Chairman of the Board and CEO of Sunburst. Owned and operated 71
          hotels, after a public spinoff of Choice Hotels. Sold the company after creating
          $450 million in value for the investors.

    Top Ten Hospitality Advisors 2001 – present
          Owner of this private consulting and advisory company in Slidell LA.
